Case 22-06660               Doc 27-1           Filed 09/05/22 Entered 09/05/22 16:44:17                                   Desc Proposed
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